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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                               The Honorable William I. Garfinkel
                                      915 Lafayette Blvd.
                                          Room 429
                                     Bridgeport, CT 06604

                                 Settlement Conference Order

This case is scheduled for a settlement conference with the Honorable William I. Garfinkel,
United States Magistrate Judge. Local counsel should notify any pro hac vice counsel of the
date and time of the conference.

The purpose of the settlement conference is to give parties the opportunity to consider settlement
before additional litigation expenses and resources are expended. In their representation of
clients and fulfillment of obligations to the Court, counsel is instructed to approach the
conference in good faith and with the preparation necessary to reach a resolution of the matter.
Counsel should arrive at the conference ready to discuss a reasonable resolution of the case
consistent with its merits.

The Court orders the parties to be present at the conference. If a party is a legal entity rather
than an individual, a representative of the entity who is fully authorized to decide all matters
pertaining to the case must be present. The Court will not hold a settlement conference without
all parties present. Availability of a party by telephone is permissible only with permission of
the Court obtained well in advance of the conference date. In cases where a party requires
authority from an insurer to settle the case, an insurance company representative with full
authority to settle the case must be present. Failure of a party to comply with these requirements
may result in the imposition of sanctions.

Not later than five (5) business days prior to the date of the settlement conference, counsel
for each party must submit to Judge Garfinkel an ex parte, confidential settlement
memorandum. This memorandum shall not exceed 10 double-spaced pages in length. The
settlement conference memorandum should set forth the legal elements of the claims and
defenses asserted, the factual basis for these claims and defenses, what discovery is anticipated,
the time required to complete discovery, any substantive motions contemplated, and the amount
and nature of demands and/or offers made to date. Settlement conference memoranda are an
opportunity for counsel to explain—to present to the Court—the salient elements of the
litigation; counsel should not refer the Court to pleadings already filed in the case. In the
event that Counsel, in their discretion, feel certain exhibits are necessary to assist the Court in
understanding the pertinent facts of the case, exhibits may be submitted along with the settlement
memorandum. In the event that exhibits exceed twenty (20) pages in length, counsel shall
send a tabbed, hard copy of the exhibits to Chambers not later than five (5) business prior
to the date of the settlement conference. The Court notes that exhibits should be submitted
only when necessary and are not a substitute for a well-composed memorandum.



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Settlement memorandum can be submitted by email to Carol_Sanders@ctd.uscourts.gov.

Any requests or questions relating to the settlement conference must be made to Chambers in
writing, or by telephone and confirmed in writing. Continuances will be granted only for good
cause clearly shown. If a continuance is requested, counsel making the request must first consult
with counsel for all other parties, and, in the event a continuance is granted, must notify all
parties of the new date and time.

The scheduling of a settlement conference does not affect existing deadlines and shall not
delay discovery unless the Court has entered a separate order to that effect.

If the case is resolved after the issuance of this Order, the parties shall contact Judge Garfinkel’s
Chambers before the date of the conference to advise the Court of the existence of the settlement.




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